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                       IN THE UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF ARKANSAS
                                 WESTERN DIVISION

UNITED STATES OF AMERICA                                                                PLAINTIFF

v.                                  NO. 4:04CR00274-02 JLH

RAYMOND NEALY                                                                        DEFENDANT

                                             ORDER

       Raymond Nealy has filed a motion asking the undersigned judge to recuse so that his case

would be reassigned to another judge for sentencing.

       In December 2004, Nealy was indicted, with Alvin Clay and Donny McCuien, on charges

of conspiring to commit wire fraud in connection with five real estate transactions. After several

continuances and two superseding indictments, the case was scheduled for trial on May 27, 2008.

By that time, McCuien had entered a guilty plea, leaving Nealy and Clay to be tried. On May 11,

2008, Nealy’s lawyer filed a motion to withdraw and also requested a continuance on Nealy’s behalf

so that substitute counsel could be obtained and could prepare to defend Nealy. The Court directed

that he state the reasons for his motion to withdraw under seal, which he did. The Court then granted

the motion to withdraw, severed Nealy’s case from Clay’s case, and granted a continuance to Nealy

so that he could obtain counsel and have the time necessary for effective preparation for trial.

       The case proceeded to trial against Clay on May 27, 2008. Clay was convicted of one count

of conspiracy to commit wire fraud and four counts of engaging in a monetary transaction from funds

derived from the wire fraud.

       Nealy’s trial was scheduled to begin on March 16, 2009. Shortly before trial, Nealy and the

government reached a plea agreement pursuant to which Nealy would waive indictment and plead

guilty to one count of misprison of a felony, and the government would dismiss the second
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superseding indictment.      A superseding information was filed charging Nealy with having

knowledge of the commission of a felony that Clay knowingly, and for the purpose of evading the

reporting requirements of 31 U.S.C. § 5313(a), structured and attempted to structure financial

transactions with a domestic financial institution in violation of 31 U.S.C. § 5324(a)(3) by

purchasing three cashier’s checks at Simmons First National Bank in the amounts of $9,000,

$4,339.51, and $9,000, and that Nealy concealed and did not make that crime known to authorities,

all in violation of 18 U.S.C. § 4.1

       At the beginning of the hearing for waiver of indictment and entry of plea to the superseding

information, the Court requested that one of the prosecuting attorneys explain the reason for entering

into this plea agreement. In pertinent part, the Court stated, addressing, Steven N. Snyder, one of

the prosecuting attorneys:

       [U]nder 11(c)(5), the Court – or (4) and (5) – the Court has an obligation to consider
       and can either reject or accept the plea agreement because of the terms.

       What I want from you – I mean, I’ve heard your case in chief in the trial against Mr.
       Clay. I have not heard Mr. Nealy’s defense, of course. But I’d like for you to explain
       to me why I should accept the plea agreement in this instance, from the government’s
       standpoint, moving from the charges, the conspiracy charges down to misprison of
       a felony. And I have every confidence that you and Mr. Webb and Ms. Stanley have
       a good reason for it, but I have no idea what it is. So I would like for you to tell me
       what it is that you can tell me. There may be things that you can’t tell me. But I need
       to hear something that makes me see that this is a plea agreement that’s in the public
       interest and something that I should accept.

Document #364 at 3. Snyder responded:

       Since the Clay trial, we have been, I would say, re-evaluating our case and weighing
       strengths and weaknesses. We have spoken to Mr. Nealy, and because of the – I


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         These funds were proceeds of one of the transactions included in the conspiracy count.
Clay testified at his trial that the three cashier’s checks were payments to Nealy for construction
work. Nealy stated during his plea colloquy that Clay owed him this money as a result of a loan.

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         wouldn’t say the facts of our case have changed, but because of things that have
         come up, we felt like it was in the best interest of both parties to enter into this
         agreement. We are confident in our case. It’s kind of hard for me to put it into
         words. I probably am not doing a very good job of articulating it. And we’ve, again,
         weighed the strengths and the weaknesses, and based on those and in talking to Mr.
         Nealy and his attorneys, we just feel that it would be in the best interest of the
         government to proceed with this information.

         If you have some additional –

Document #364 at 3-4. The Court then intervened and said:

         No. I mean, I think you know what my question is. You put on a case in the Clay
         trial, and without hearing Mr. Nealy’s defense, I mean, the case in chief was very
         compelling, and the jury convicted Mr. Clay of conspiring with Mr. Nealy. And
         really and truly, the evidence was stronger against Mr. Nealy than against Mr. Clay.
         I think everybody knew that. That was part of the defense, that the case you put on
         was primarily aimed at Mr. Nealy, not Mr. Clay. So now that we have Mr. Clay
         convicted, we’re in here pleading Mr. Nealy to a substantially lesser offense. And
         it’s not that I’m going to reject it, and I never have rejected. I’ve been here four and
         a half years. I have not rejected a plea agreement. I let the lawyers try their cases and
         do their things, and you all are good lawyers, and Ms. Koehler and Mr. Perroni are
         good lawyers, and I’m confident there’s a good reason for it. But I am bothered some
         by it. Part of it is the fairness of the whole thing, because we have different parties
         being treated substantially different, at least on what’s been presented to me, not
         based on anything related to culpability. So if there’s anything else you can tell me,
         tell me, and if not, then –

Document #364 at 4. From there, the discussion continued, and Snyder informed the Court that the

victims of the conspiracy had been informed about the proposed plea agreement and were in support

of it.

         Thereafter, the Court called Nealy and his attorney to the podium and then went through the

colloquy pertaining to waiver of indictment and entry of a plea. During the course of that colloquy

the Court explained the sentencing guidelines were advisory and then made the following statement

to Nealy:

         The other element of uncertainty about sentencing is after the guideline range has
         been determined, the judge has the authority to impose a sentence that’s more severe

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       or less severe than the sentence called for by the guidelines. In this instance, the
       Court has the authority and would consider a sentence that’s more severe than what’s
       called for by the guidelines. In other words, even if the guideline range turns out to
       be zero to six months, and even if it turns out that you’re eligible for probation under
       the guidelines, in this case, the Court will consider the possibility – I’ve made no
       decisions, but I will consider the possibility of a term of imprisonment for you,
       regardless of any recommendations of the United States Attorney. And I will
       consider – I haven’t made any decisions, but I will consider a sentence that would be
       greater than zero to six months. I’ll consider it. I’m not saying what I will do. But
       you need to understand that that’s a possibility. And if you want to stop and visit
       with Ms. Koehler before you go forward, after having been told that, then you may
       do so. But do you understand that?

Document #364 at 17-18.

       The motion for recusal is based in large part on these comments made during the hearing on

the waiver of indictment and entry of a plea to the information. In addition, Nealy argues that the

Court should recuse because the government filed a motion for upward departure, contrary to the

plea agreement, and then withdrew it after being contacted by defense counsel. Nealy notes that the

Court knew of the government’s sentencing memorandum because the Court entered an order

granting the government’s motion to withdraw it. Furthermore, Nealy said that the Court should

recuse because in ruling on Clay’s motion for new trial or for judgment of acquittal, the Court

described the evidence as showing that Nealy and McCuien conspired to commit wire fraud.

Document #374 at 4.

       Section 455(a) of Title 28 of the United States Code requires a federal judge to “disqualify

himself in any proceeding in which his impartiality might reasonably be questioned.” The test is an

objective one – whether the judge’s impartiality might reasonably be questioned. The Eighth Circuit

has said that the issue is whether the judge’s impartiality “might reasonably be questioned by the

average person on the street who knows all of the relevant facts of a case.” Scenic Holding, LLC v.

New Bd. of Trustees of the Tabernacle Missionary Baptist Church, Inc., 506 F.3d 656, 662 (8th Cir.

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2007) (quoting Moran v. Clarke, 296 F.3d 638, 643 (8th Cir. 2002)). If this objective standard is

met, a judge must disqualify himself even if he has no actual bias.

       In Liteky v. United States, 510 U.S. 540, 114 S. Ct. 1147, 127 L. Ed. 2d 474 (1994), the

Supreme Court analyzed § 455(a) and explained at some length the requirements of that provision

in a case that presented issues similar, though not identical, to the issue presented here.

       First, judicial rulings alone almost never constitute a valid basis for a bias or
       partiality motion. In and of themselves, i.e., apart from surrounding comments or
       accompanying opinion, they cannot possibly show reliance upon an extra judicial
       source; and can only in the rarest circumstances evidence the degree of favoritism or
       antagonism required (as discussed below) when no extra judicial source is involved.
       Almost invariably, they are proper grounds for appeal, not for reversal. Second,
       opinions formed by the judge on the basis of facts introduced or events occurring in
       the course of the current proceedings, or of prior proceedings, do not constitute a
       basis for a bias or partiality motion unless they display a deep-seated favoritism or
       antagonism that would make fair judgment impossible. Thus, judicial remarks
       during the course of a trial that are critical or disapproving of, or even hostile to,
       counsel, the parties, or their cases, ordinarily do not support a bias or partiality
       challenge. They may do so if they reveal an opinion that derives from an extra
       judicial source; and they will do so if they reveal such a high degree of favoritism or
       antagonism as to make fair judgment impossible. . . . Not establishing bias or
       partiality, however, are expression of impatience, dissatisfaction, annoyance, and
       even anger, that are within the bounds of what imperfect men and women, even after
       having been confirmed as federal judges, sometimes display. A judge’s ordinary
       efforts at courtroom administration – even a stern and short-tempered judge’s
       ordinary efforts at courtroom administration – remain immune.

Id. at 555-56, 114 S. Ct. at 1157. See also Scenic Holding, 506 F.3d at 662-63. In Liteky, the

grounds for recusal were based on rulings made, and statements uttered, by the district judge during

and after an earlier trial involving the defendant, as well as the judge’s admonishment of the

defendant’s counsel and co-defendants. Liteky, 510 U.S. at 556, 114 S. Ct. at 1157-58. The

Supreme Court held:

       All of these grounds are inadequate under the principles we have described above:
       They consist of judicial rulings, routine administration efforts, and ordinary
       admonishments (whether or not legally supportable) to counsel and to witnesses. All

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        occurred in the course of judicial proceedings, and neither (1) relied upon knowledge
        acquired outside such proceedings nor (2) displayed deep-seated and unequivocal
        antagonism that would render fair judgment impossible.

Id. at 556, 114 S. Ct. at 1158. See also United States v. Gamboa, 439 F.3d 796, 817 (8th Cir. 2006);

United States v. Sypolt, 346 F.3d 838, 839 (8th Cir. 2003). An unfavorable ruling – even refusal to

accept a guilty plea – does not warrant disqualification. Harris v. Missouri, 960 F.2d 738, 740 (8th

Cir. 1992). Here, Nealy does not complain of any ruling by the Court – the Court accepted his plea.

He argues, instead, that while accepting his plea, the Court made comments based on the evidence

presented at the Clay trial from which the appearance of impropriety arises.

        After a thorough review of the transcript of the hearing on Nealy’s waiver of indictment and

entry of a plea to the superseding information, with particular focus on the comments that are

mentioned in Nealy’s motion for recusal, and after reviewing the order ruling on Clay’s motion for

new trial or for judgment of acquittal, the undersigned judge does not believe that recusal is in order.

The comments asserted as a basis for disqualification were made in the course of judicial

proceedings and neither relied upon knowledge acquired outside of the proceedings nor displayed

deep-seated and unequivocal antagonism that would make fair judgment impossible. Therefore, the

motion for recusal is DENIED. Document #390.

        IT IS SO ORDERED this 26th day of August, 2009.




                                                        J. LEON HOLMES
                                                        UNITED STATES DISTRICT JUDGE




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